                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ11
    et al.,1
                                                                 Jointly Administered
                                Debtors.


                                      NOTICE OF PARTICIPANTS

             Pursuant to the Order: (1) Scheduling Hearing on Motion Filed by Ironshore Specialty

Insurance Company for Approval of Settlement Payment to the Sandy Hook Families (2) Fixing

Objection Deadline and (3) Establishing Remote Hearing Procedures [Docket No. 2399], Gene

Davis, on behalf of Remington Outdoor Company, Inc. and its affiliated in the above-captioned

chapter 11 cases, by and through his undersigned counsel, hereby identifies the following

participants for the March 29, 2022 hearing:

               (a) Hanna Lahr
                   BURR & FORMAN LLP
                   hlahr@burr.com
                   Tel: 205.458.5462

               (b) Sarah Link Schultz
                   AKIN GUMP STRAUSS HAUER & FELD LLP
                   sschultz@akingump.com
                   Tel: 214.969.4367

               (c) Chance Hiner
                   AKIN GUMP STRAUSS HAUER & FELD LLP




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405).


47491399 v1

Case 20-81688-CRJ11              Doc 2437 Filed 03/24/22 Entered 03/24/22 11:56:06                           Desc
                                   Main Document     Page 1 of 2
              chiner@akingump.com
              Tel: 214.969.4318

Dated: March 24, 2022.

                                    /s/ Hanna Lahr
                                    BURR & FORMAN LLP
                                    Derek F. Meek
                                    Hanna Lahr
                                    James P. Roberts
                                    420 20th Street North, Suite 3400
                                    Birmingham, AL 35203
                                    Telephone: (205) 251-3000
                                    Facsimile: (205) 458-5100
                                    Email: dmeek@burr.com
                                           hlahr@burr.com
                                           jroberts@burr.com

                                    - and -

                                    AKIN GUMP STRAUSS HAUER & FELD LLP
                                    Sarah Link Schultz
                                    2300 N. Field Street
                                    Suite 1800
                                    Dallas, TX 75201-2481
                                    Telephone: (214) 969-2800
                                    Facsimile: (214) 969-4343
                                    Email: sschultz@akingump.com

                                    Attorneys for the Plan Administrator




                                          2
47491399 v1

Case 20-81688-CRJ11      Doc 2437 Filed 03/24/22 Entered 03/24/22 11:56:06   Desc
                           Main Document     Page 2 of 2
